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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                              Civil Action No.: 0:15-cv-61862

 MARTIN COHEN,

        Plaintiff,

 vs.

 MSC CRUISES (USA) INC.,
 a Florida corporation, and
 MSC CROCIERE, S.A., a foreign
 corporation

      Defendants.
 _________________________/

                     COMPLAINT AND DEMAND FOR JURY TRIAL

        Plaintiff, Martin Cohen (“Plaintiff”), by and through his undersigned attorney, sues

 Defendants, MSC Cruises (USA) Inc., a Florida corporation, and MSC Crociere, S.A., a

 foreign corporation, (collectively, “Defendants”) and alleges:

                         PARTIES, JURISDICTION, AND VENUE

        1.      This is an action for damages Plaintiff sustained while he was a paid

 passenger on board Defendants’ vessel, the MSC Divina.

        2.      At all times material hereto, Plaintiff was and is an adult resident of

 Broward County, Florida, and is otherwise sui juris.

        3.      At all times material hereto, Defendant MSC Cruises (USA) Inc. was and

 is a Florida corporation with its principal place of business in Broward County, Florida.

        4.      At all times material hereto, Defendant MSC Crociere, S.A., was and is a

 foreign corporation authorized to do business in the State of Florida, and it engaged in




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 substantial and not isolated business activity in the State of Florida, and in particular, in

 Broward County, Florida.

        5.     At all times material hereto, Defendants owned or operated or owned and

 operated a luxury passenger cruise ship known as MSC Divina.

        6.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1333(1), which

 provides to United States District Courts original jurisdiction, exclusive of state courts, of

 any civil case of admiralty or maritime jurisdiction.

        7.     Venue is proper in the United States District Court for the Southern District

 of Florida pursuant to the terms and conditions of Plaintiff’s passenger ticket for the

 cruise aboard the MSC Divina on which Plaintiff was injured. Venue is also proper

 pursuant to 28 U.S.C. § 1391 because MSC Cruises (USA) Inc.’s principal place of

 bussiness is 6750 North Andrews Avenue, Suite 100, Fort Lauderdale, Florida.

        8.     All conditions precedent to this action have been performed or waived,

 including the pre-suit notice of claim required by the terms and conditions of Plaintiff’s

 passenger ticket for the cruise aboard the MSC Divina on which Plaintiff was injured.

                                 FACTUAL ALLEGATIONS

        9.     On or about September 14, 2014, Plaintiff was an invitee and paid

 passenger on board Defendants’ vessel, the MSC Divina, which was in navigable

 waters, with the actual or constructive consent of Defendants.

        10.    On that date, Plaintiff was operating his motor scooter in the buffet area of

 the MSC Divina.

        11.    Unknown to Plaintiff, the floors in the buffet area of the MSC Divina were

 wet and slippery due to a clear, transitory substance.



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        12.     As Plaintiff attempted to turn his motor scooter around to return to his

 sitting area, Plaintiff’s motor scooter lost its traction on the clear, slippery, transitory

 substance and flipped over, which caused Plaintiff to land forcefully on the ground and

 suffer bodily injury.

                                  COUNT I – NEGLIGENCE

        13.     Plaintiff adopts and incorporates by reference all allegations in paragraphs

 1 through 12 above as if fully set forth herein.

        14.     Defendants had a duty to Plaintiff to exercise reasonable care under the

 circumstances.

        15.     Defendants knew or reasonably should have known that the floors in the

 buffet area of the MSC Divina were wet and slippery because the transitory substance

 was there sufficiently long enough to put Defendants on notice and also because of

 numerous prior incidents of passengers slipping and falling there.

        16.     Alternatively, Defendants created an unsafe and foreseeably hazardous

 condition by virtue of Defendants’ design and assembly of the MSC Divina’s floors or

 Defendants’ failure to implement and exercise the due level of safety procedures

 intended to prevent spills of transitory substances.

        17.     Defendants breached their duty to exercise reasonable care under the

 circumstances with the following actions or inactions:

                a.       Failing to maintain the passenger cruise ship MSC Divina in a

        reasonably safe condition by permitting the floors in the buffet area of the MSC

        Divina to become wet and slippery.




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               b.     Failing to correct a dangerous condition, the wet and slippery floors

        in the buffet area of the MSC Divina, of which Defendant either knew or should

        have known by the use of reasonable care under the circumstances.

               c.     Failing to warn Plaintiff of a dangerous condition, the wet and

        slippery floors in the buffet area of the MSC Divina, of which the Defendant either

        knew or should have known by the use of reasonable care.

               d.     Failing to implement adequate policies or procedures to ensure the

        floors in the buffet area of the MSC Divina remained free from any dangerous

        conditions.

        18.    As a direct and proximate result of Defendant’s negligence, Plaintiff has

 suffered damages, including but not limited to bodily injury, resulting pain and suffering,

 disability, mental and emotional anguish, loss of capacity for the enjoyment of life, and

 extensive medical care and treatment. Plaintiff’s injuries and losses are permanent or

 continuing in nature and Plaintiff will suffer the losses and impairments in the future.

        WHEREFORE,          Plaintiff   demands      judgment        against   Defendants   for

 compensatory damages, costs, pre-judgment and post-judgment interest, attorneys’

 fees, and for such other and further relief as this Court deems necessary, just, and

 proper.

                                        JURY DEMAND

        Plaintiff demands trial by jury for all issues so triable.




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      DATED: September 3rd, 2015.



                              Respectfully submitted,

                              By:    /s/ Mario L. Perez

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